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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  CRAIG CUNNINGHAM,                               §
                                                  §
                 Plaintiff,                       §
                                                  §
           v.                                     §
                                                  §
  MANESSEH JORDAN MINISTRIES, INC.;               §
  BUILLON FITNESS INC.; KINGDOM                   § CASE NO.: 4:19-cv-00494-SDJ-CAN
  MINISTRIES CHURCH INC.; YAKIM                   §
  MANESSEH JORDAN a/k/a MANESSEH                  §
  JORDAN; MJ MINISTRIES SPREADING                 §
  THE GOSPEL, INC.; and JOHN AND                  §
  JANE DOES 1-5,                                  §
                                                  §
                 Defendants.                      §

                    STIPULATION OF DISMISSAL WITH PREJUDICE

        IT IS HEREBY STIPULATED by and between the parties to this action that the above-

 captioned action be and is hereby DISMISSED WITH PREJUDICE pursuant to Federal Rule of

 Civil Procedure 41(a)(1)(A)(ii). Each party will bear their own attorney’s fees and costs.

 DATED THIS 27th DATE OF MAY, 2021.

                                              Respectfully submitted,



                                                 /s/ Jason J. Irvin
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                                                GOSPEL, INC.
